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 3
                         UNITED STATES DISTRICT COURT
 4
 5                     SOUTHERN DISTRICT OF CALIFORNIA
 6
 7    UNITED STATES OF AMERICA,                    Case No. 20cr3038-JLS
 8
                             Plaintiff,
 9                                                 ORDER CONTINUING MOTION
10          v.                                     HEARING/TRIAL SETTING

11    LANCE MATTHEW CRAYON,
12
                             Defendant.
13
14
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          IT IS HEREBY ORDERED that the joint motion to continue the Motion
16
     Hearing / Trial Setting from May 7, 2021 to June 18, 2021 at 1:30 p.m. is GRANTED.
17
     Defendant shall file an acknowledgement of the new hearing date by May 21, 2021.
18
19        For the reasons set forth in the joint motion, the Court finds that the ends of
20 justice will be served by granting the requested continuance, and these outweigh
21 the interests of the public and the defendant in a speedy trial. Accordingly, the
22 delay occasioned by this continuance is excludable pursuant to 18 U.S.C. §
23 3161(h)(7)(A), as well as under 18 U.S.C. § 3161(h)(1)(D).
24
         IT IS SO ORDERED.
25 Dated: May 5, 2021
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                                                                            20cr3038-JLS
